                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN




WILLIAM FEEHAN,

                            Plaintiff,                             CASE NO. 2:20-cv-1771
               v.

WISCONSIN ELECTIONS COMMISSION,
  and its members ANN S. JACOBS,
  MARK L. THOMSEN, MARGE
  BOSTELMAN, JULIE M. GLANCEY,
  DEAN KNUDSON, ROBERT F.
  SPINDELL, JR., in their official
  capacities, GOVERNOR TONY EVERS,
  in his official capacity,

                            Defendants.

______________________________________________________________________________

                 PLAINTIFF’S MOTION FOR CONSOLIDATED
             EVIDENTIARY HEARING AND TRIAL ON THE MERITS
______________________________________________________________________________

    COMES NOW Plaintiff, William Feehan by and through his undersigned counsel, and moves

the Court to schedule an evidentiary hearing on the merits at 9 a.m., Wednesday, December 9,

2020, or at the Court’s earliest opportunity other than on Thursday, December 10, 2020. This

Motion is brought pursuant to FRCP 65.

    In support, Plaintiff shows:

  1) FRCP 65(a) provides:

     (a) Preliminary Injunction.
     (1) Notice. The court may issue a preliminary injunction only on notice to the adverse party.
     (2) Consolidating the Hearing with the Trial on the Merits. Before or after beginning the
     hearing on a motion for a preliminary injunction, the court may advance the trial on the merits
     and consolidate it with the hearing. Even when consolidation is not ordered, evidence that is
     received on the motion and that would be admissible at trial becomes part of the trial record
     and need not be repeated at trial. But the court must preserve any party’s right to a jury trial.

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  2) As the Court is likely aware, prior to filing this Case No. 2:20-cv-1771, Plaintiffs’ Counsel

commenced similar actions in several other jurisdictions, based upon evidence provided in the

Affidavits and Declarations the same or similar to those of Plaintiff’s expert witnesses supporting

Plaintiff’s Amended Complaint in this case.

  3) Because Plaintiff’s counsel had concluded that December 8 was the final date for

determining injunctive relief and because Plaintiff’s expert witnesses could not be available in

multiple courts at once, Plaintiff proposed to proceed based on the expert witness and other

documentary evidence provided in the Exhibits to his Complaint, which Plaintiff asserts satisfies

the evidentiary standard for a Temporary Restraining Order in any event. Pl. Amended

Memorandum at 5 – 8.

  4) However, pursuant to its Order dated December 4, ECF Docket No. 29, the Court has

determined that December 14 is the final date for determination rather than December 8. Further,

except for Thursday, December 10, scheduling ordered in the other jurisdictions has now made it

possible for Plaintiff’s experts to appear before this Court on Wednesday, December 9 or thereafter.

  5) Also, counsel who have appeared on behalf of Defendants and amici proposed intervenors

in this action have appeared on behalf of similarly situated defendants in other jurisdictions. Based

upon their filings in those jurisdictions and the responsive pleadings proposed by amici in this

action, it is clear that defendants intend to argue, inter alia, that relief should not be granted apart

from an evidentiary determination on the merits.

  6) In its December 4 Order, the Court contemplated “exercis[ing] its discretion whether to hold

an evidentiary hearing or hear argument.” Id. at 3 – 4.

  7) Plaintiff’s reply briefing will be submitted by 5:00 p.m., Tuesday, December 8.




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  8) A consolidated hearing/trial on December 9 under Rule 65(a)(2) would provide the Court a

more thorough basis for its decision than the documentary evidence available to date, and would

make possible a final order with at least a minimal window of several days available for appeal.

  9) Plaintiff would present three witnesses and estimates the entire hearing could be concluded

in three hours.

                                        CONCLUSION

   Accordingly, the Plaintiff respectfully requests the Court to schedule a consolidated

hearing/trial on the merits commencing at 9 a.m., December 9, 2020.



       Respectfully submitted, this 6th day of December, 2020.


                                             ATTORNEYS FOR PLAINTIFF


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